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                 Exhibit 1-CC
      Evidence Packet in Support of Defendant’s Motions for Summary Judgment


        U.S.D.C., Central District of California, Case No.: 2:15-cv-05346-CJC-E




                                                                   Evidence Packet P.0570
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                                                                      Page 1

 1                       UNITED STATES DISTRICT COURT FOR THE
                           CENTRAL DISTRICT OF CALIFORNIA
 2
        T.P., et al                         )   Case No. 15-cv-5346-R
 3                                          )
        VS.                                 )
 4                                          )
        WALT DISNEY PARKS AND               )
 5      RESORTS U.S., INC.                  )
 6
 7                  *********************************************
 8                                  ORAL DEPOSITION
 9                                CARISSA MEYER, M.D.
10                                DECEMBER 17, 2019
11                                     VOLUME I
12                   *********************************************
13
14
15
16
17            ORAL DEPOSITION of CARISSA MEYER, M.D., produced as a
18      witness at the instance of the Plaintiffs, and duly sworn, was
19      taken in the above-styled and numbered cause on the 17th day of
20      December, 2019, from 2:17 p.m. to 4:55 p.m., before Rhonda K.
21      Ashman, CSR, RPR, in and for the State of Texas, reported by
22      stenographic means, at the offices of McDermott, Will & Emery,
23      LLP, 2501 North Harwood Street, Suite 1900, Dallas, Texas,
24      pursuant to the Rules of Civil Procedure and the provisions
25      stated on the record or attached hereto.

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                                                                     Page 2

 1                               A P P E A R A N C E S
 2      FOR THE PLAINTIFFS:
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 4           1814 North 15th Street
             Ybor City, Florida 33605
 5           Phone (813) 606-5036
             Fax (813) 606-5336
 6           Dom@domlaw.com
 7      FOR THE DEFENDANT:
 8           Mr. Jeremy M. White, Esq.
             Ms. Sarah Schanz, Esq.
 9           McDERMOTT, WILL & EMERY, LLP
             The McDermott Building
10           500 North Capitol Street, NW
             Washington, DC 20001-1531
11           Phone (202) 756-8694
             Fax (202) 591-2799
12           Jmwhite@mwe.com
13      ALSO PRESENT:
             Zachary Steinmetz, Videographer
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 1                                CARISSA MEYER, M.D.,

 2      having been first duly sworn, testified as follows:

 3                                E X A M I N A T I O N

 4      BY MR. LAZZARA:

 5            Q.     Okay.    Good afternoon.    How are you?

 6            A.     I'm good.    Thank you.

 7            Q.     Good.    Thank you.   Have you taken any depositions

 8      before?     Had your deposition taken?

 9            A.     No.

10            Q.     So this is your first time?

11            A.     Yes.

12            Q.     Okay.    I would like to just briefly go through some

13      ground rules with you and set the predicate for the next hour

14      or so together.

15                          So we have a court reporter here.    That's the

16      first part of this.       And the court reporter is taking a record

17      of everything that you say.        So throughout the deposition, it's

18      very important that if you answer questions, you answer with

19      either "yes" or "no" and try to avoid inaudible gestures and

20      head shakes or head nods or saying "uh-huh" or "huh-uh" because

21      it's difficult for the madam court reporter to keep an accurate

22      record.

23                          Throughout this deposition, opposing counsel,

24      Mr. White, may state objections in the nature of he'll say

25      something, like, objection, form or a speaking objection.           It

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                                                       Evidence Packet P.0574
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                                                       Evidence Packet P.0575
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 1            Q.    You mentioned that you have been seeing him, you

 2      believe, for three years.     I know you practiced with

 3      Dr. Viktorin prior to that, but you believe you have seen him

 4      for about three years?

 5            A.    I saw him for at least the past three years at my new

 6      office, and then I -- she left the practice, the previous

 7      practice, and so then I became his primary person after that.

 8      And I don't recall when she left.       It may have been 2015.      I'm

 9      not sure.

10            Q.    So maybe approximately four years you've --

11            A.    I mean, I knew of him before that.      In most offices,

12      there are certain patients that everybody knows of them just

13      because they're -- have more chronic issues, and he -- I would

14      consider him to be a patient like that; that everybody kind of

15      knows about him.

16            Q.    Sure.   And you see him -- unless he comes in for a

17      sick visit -- approximately you said once a year for a well

18      visit?

19            A.    In the past two years, that's been the case.        I've

20      only seen him for well visits.      But prior to that, I saw him

21      for sick visits at the old office.

22            Q.    And when you see him for a well visit, how long do

23      you see him for?

24            A.    Usually probably, like, 20 to 30 minutes.

25            Q.    What about a sick visit, how long does a sick visit

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                                                       Evidence Packet P.0577
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 1      and treat those aggressive behaviors.

 2            Q.    Thank you, Doctor.

 3                        MR. LAZZARA:   I don't have any further

 4      questions.    I appreciate your time.

 5                        Counsel, you may have follow-up, but I am

 6      officially done.

 7                        Thank you, Doctor.

 8                        THE WITNESS:   Thank you.

 9                        (Reporter's time:    4:54 p.m.)

10                               FURTHER EXAMINATION

11      BY MR. WHITE:

12            Q.    Do you provide any accommodations to patients with

13      autism who are waiting in your waiting room at the doctor's

14      office?

15                        MR. LAZZARA:   Objection, form.

16            A.    No.   I would say no.

17                        MR. WHITE:   Okay.   No further questions.

18                        THE WITNESS:   Okay.

19                        MR. LAZZARA:   Thank you, Doctor.

20                        (Proceedings concluded at 4:55 p.m.)

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 1      STATE OF TEXAS     )

 2            I, Rhonda K. Ashman, Certified Shorthand Reporter in and

 3      for the State of Texas, do hereby certify that, pursuant to the

 4      agreement hereinbefore set forth, there came before me on the

 5      17th day of December, A.D., 2019 at 2:17 p.m., at McDermott,

 6      Will & Emery, LLP, 2501 North Harwood Street, Suite 1900, in

 7      the City of Dallas, County of Dallas, and State of Texas, the

 8      following named person to-wit: CARISSA MEYER, M.D., who was by

 9      me duly sworn to testify the truth and nothing but the truth of

10      her knowledge touching and concerning the matters in

11      controversy in this cause; and that she was thereupon carefully

12      examined upon her oath and her examination reduced to writing

13      under my supervision; that the deposition is a true record of

14      the testimony given by the witness, same to be sworn to and

15      subscribed by said witness before any Notary Public, pursuant

16      to the agreement of the parties; and that the amount of time

17      used by each party at the deposition is as follows:

18            Mr. Domenick Lazzara - 1:09

              Mr. Jeremy M. White - 00:25

19

20            I further certify that I am neither attorney or counsel

21      for, nor related to or employed by, any of the parties to the

22      action in which this deposition is taken, and further that I am

23      not a relative or employee of any attorney or counsel by the

24      parties hereto, or financially interested in the action.

25            I further certify that before the completion of the

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